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                                                                                                     J
                    IN THE CIRCUIT COURT OF JEFFERSON COUNTY


JEFFERY L. EDWARDS;                                                     PLAINTIFFS
ANTHONY STOKES



VS.                                         NO. CV 2012-618-2

MONTY WHATLEY AND UNION                                                 DEFENDANTS
PACIFIC RAILROAD



             DEFENDANTS' RESPONSE TO PLAINTIFFS' MOTION TO COMPEL

        Come now Defendants Union Pacific Railroad Company and Monty Whatley by and

through their counsel, Friday, Eldredge & Clark, LLP, and for their Response to Plaintiffs'

Motion to Compel, states as follows:

        1.      Plaintiffs are seeking an order compelling responses to unidentified requests from

their written to discovery to Defendants.

        2.      Defendants cannot effectively respond to the Motion as it does not identify any

particular response or objection that is deficient. Plaintiffs' motion should be denied on this

basis alone.

        3.      Plaintiffs' counsel's attempt to resolve the dispute and Defendants' counsel's

response are attached hereto as Exhibit 1. Specifically on October 15, 2015, Plaintiffs' counsel

asked, "I need you to supplement on the comparator information I am seeking. Do you plan to do

so?"    Defendants' counsel attempted to clarify the request and agreed to ask the client for

information to supplement the request as understood.       Defendants have 1mi:md and

produced the requested information.
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        4.     Plaintiffs' Motion also references their entitlement to know facts surrounding

affinnative defenses.    Plaintiffs' counsel's good faith correspondence did not reference any

deficiency to Defendants' responses or objections to any request related to the affirmative

defenses. (Exhibit 1) Defendants' answer to the amended complaint contains no affirmative

defenses labeled as such. See Defendants' Answer to Amended Complaint, attached as Exhibit

2. Defendants alleged that Plaintiffs failed to exhaust their administrative remedies, which is a

defense held over from Plaintiffs' federal Title VII claims. Defendants alleged that Plaintiffs'

claims are barred by the statute of limitations, which is explained in detail in Defendants' Motion

for Summary Judgment as to Anthony Stokes. Defendants alleged that Plaintiffs failed to state

claim and that Defendants would have made the same decision regardless of the Plaintiffs' race,

purported disability, or protected activity.   These defenses all speak for themselves, and of

course, Defendants believe every fact in the case supports their defenses.

       5.      In Paragraphs 4 and 5, Plaintiffs' Motion also references production of personnel

files. Plaintiffs' discovery requests, however, do not ask for the personnel files of comparators

identified in Interrogatory No. 15.

       6.      Defendants submit that this motion is premature in light of the fact Defendants

have not communicated a final decision to Plaintiffs regarding any of the requested information.

To the contrary, Defendants have now gathered and produced the requested information, which

moots the motion.

       7.      Plaintiffs' Motion states that the Motion to Compel is necessary because it does

not appear the discovery issue will be resolved before the response to the Motion for Summary



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Judgment is due. If a party needs additional discovery to present facts essential to his opposition

in response to a Motion for Summary Judgment, the correct remedy for that is a request under

Ark. R. Civ. P. 56(f) and not a motion to compel. Plaintiffs have made a separate motion for

continuance or stay, and Defendants will respond to that separately. Further, the dispute has

resolved before the response is due as the information has been produced.

          8.       Arkansas Rule of Civil Procedure 37(a)(4)(B) authorizes the court to award

reasonable expenses, including attorneys' fees, to a party opposing a motion if the motion is

denied.        Defendants request such an award in this case as the motion was unjustified as

Defendants had not refused to produce any requested information. Plaintiffs' stated purpose for

filing the Motion was not that Defendants had refused to produce any discovery but to delay

responding to the Motion for Summary Judgment, which is a remedy they have sought in another

motion.

          WHEREFORE, Defendants Union Pacific Railroad Company and Monty Whatley pray

that this Court deny Plaintiffs' Motion to Compel, and award Defendants all of their reasonable

attorneys' fees and costs, and for all other appropriate relief to which they are entitled.




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                                             Respectfully submitted,

                                             H. Wayne Young, Jr., (AR2003128)
                                             FRIDAY, ELDREDGE & CLARI(, LLP
                                             400 West Capitol, Suite 2000
                                             Little Rock, AR 72201-3522
                                             501-370-1402 -Telephone
                                             501-244-5305 - Facsimile
                                             wyoung@fec.net - Email



                                       By:      H. Wayne Young, Jr.

                                               Attorneys for Union Pacific Railroad and
                                               Monty Whatley




                                CERTIFICATE OF SERVICE

        I hereby certify that on November 3, 2015, I served the foregoing via First Class U.S.
Mail to the following:

Lucien Gillham
SUTTER & GILLHAM, P.L.L.C.
310 W. Conway Street
P.O. Box 2012
Benton, Arkansas 72018


                                                    By:~!-}--_0_~--+-~7---r-"21-f-l~--(1-­
                                                          H. Wayne Young, fr:




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H. Wayne Young

From:                            luther.sutterlaw@gmail.com
Sent:                            Thursday, October 15, 2015 12:53 PM
To:                              H. Wayne Young
Cc:                              gtucker.sglaw@gmail.com
Subject:                         Re: Stokes Edwards


I want three years prior for all of Arkansas.

Sent from my iPhone

>On Oct 15, 2015, at 12:43 PM, H. Wayne Young <WYoung@.fridayfirm.com> wrote:
>
>Luther,
> I believe we can work something out, but I want to make sure I understand what you are asking for.
>In response to Interrogatory 15 in plaintiffs' second set of discovery, we produced a report of violations of
Rule 1.5 from the date of Stokes' incident forward through August 15, 2014 from the North Little Rock Service
Unit.
> Are you asking me for similar information going backwards 3 years?
> I will agree to ask the client if they can pull such a report.
>
> That is the only request I see in the discovery for comparator information.
> If I am missing one, please advise, and I will try to work something out.
>
>Thank you,
>
> H. WAYNE YOUNG / ATTORNEY
>
> WYoung<i],!fridayfirm.com /Direct: (501) 370-1402 /Fax (501) 244-5305
> 400 West Capitol Avenue, Suite 2000
>Little Rock, Arkansas 72201-3522 / www.FridayFirm.com
>
>This e-mail message and any attachments contain confidential information that may be legally privileged. If
you are not the intended recipient, you must not review, retransmit, convert to hard copy, copy, use or
disseminate this e-mail or any attachments to it. If you have received this e-mail in error, please immediately
notify us by return e-mail or by telephone at 501-3 70-1402 and delete this e-mail. Please note that if this e-mail
contains a forwarded message or is a reply to a prior message, some or all of the contents of this message or any
attachments may not have been produced by Friday, Eldredge & Clark, LLP. Receipt of e-mail does not
establish an attorney-client relationship.
>
>
> -----Original Message-----
> From: l uther.sutterlaw@gmail.com [mailto: luther.sutterlaw({]!gmail .com]
>Sent: Thursday, October 15, 2015 12:33 PM
>To: H. Wayne Young
> Cc: gtucker.sglaw@gmail.com                                                                EXHIBIT 1
> Subject: Stokes Edwards
>
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> I need you to supplement on the comparator info1mation I am seeking. Do you plan to do so?
>
> Sent from my iPhone
>
>




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